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  PX                                                     Defendants'
Number        Substance/Purpose                          Objections    Sealed
        email response re Giovanni and Parker
      1 medical care                                                   Sealed
        response to Advocacy Center letter re
      2 Kentrell Parker isolation                                      Sealed
        response to Advocacy Center letter re
      3 Kentrell Parker isolation                                      Not Sealed
        response to Advocacy Center letter re
      4 Kentrell Parker isolation                                      Not Sealed
        response to Advocacy Center letter re
      5 Kentrell Parker isolation                                      Sealed

      6 Plaintiffs' corrected medical expert report                    Not Sealed

      7 Plaintiffs' ADA expert report                                  Not Sealed

      8 email re medical necessity                                     Sealed

      9 email medical necessity                                        Not Sealed

     10 email re screening colonoscopies                               Not Sealed

     11 email re infirmary staffing                                    Not Sealed

     12 email re inmates with stroke symptoms                          Not Sealed

     13 email re inmates with infections                               Not Sealed
        meeting minutes from statewide healthcare
     14 meeting                                                        Not Sealed

     15 proposal re EHCC medical dorm                                  Not Sealed

     16 evacuation plans                                               Not Sealed

     17 consent decree in Lynn v. Williams                             Not Sealed

     18 expert report of Brian Nolan                                   Not Sealed

     19 Dr. Puisis Lynn v. Williams' Report                            Not Sealed

     20 1994 DOJ Findings                                              Not Sealed

     21 email regarding nursing unit staffing                          Not Sealed



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  PX                                                     Defendants'
Number         Substance/Purpose                         Objections    Sealed
        census and acuity documentation 2011-
     22 2015                                                           Not Sealed

     23 Singh email regarding staffing                                 Not Sealed

     24 email re Wexford report                                        Not Sealed

     25 email regarding screening colonoscopies                        Not Sealed

     26 email regarding screening colonoscopies                        Not Sealed

     27 ACA Medical Evaluation                                         Not Sealed
        Plaintiffs' medical expert rebuttal report to
     28 Thomas report                                                  Sealed

     29 email regarding Wexford report                                 Not Sealed

     30 email regarding Wexford report                                 Not Sealed

     31 email regarding radiation treatments                           Sealed

     32 email regarding cataract surgeries                             Sealed

     33 2014 peer review by Dr. Prejean                                Sealed

     34 Table of post-op wound infections                              Sealed

     35 2012 peer review report                                        Sealed
        email regarding follow-up care for cancer
     36 patients                                                       Sealed
        email regarding hernia treatment and
     37 attachment                                                     Sealed

     38 eceptionist entry 84306                                        Sealed

     39 eceptionist entry 78746                                        Sealed

     40 eceptionist entry 22976                                        Sealed

     41 EMS workload statistics                                        Not Sealed

     42 email re screening colonoscopies                               Not Sealed



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  PX                                                       Defendants'
Number        Substance/Purpose                            Objections    Sealed
     43 eceptionist record 84306                                         Sealed

     44 email re hernia treatment scheduling                             Not Sealed

     45 protocol for hernia treatment                                    Not Sealed
        document regarding cost containment
     46 strategies                                                       Not Sealed

     47 eceptionist records re Clyde Carter                              Sealed

     48 email re telemedicine                                            Not Sealed

     49 email regarding issues with trips                                Not Sealed

     50 email re nursing supplies                                        Not Sealed
        REBTC monthly management report,
     51 March 2016                                                       Sealed
        REBT monthly management report, April
     52 2016                                                             Sealed

     53 sick call form re Shannon Hurd                                   Sealed

     54 email regarding health care numbers                              Not Sealed

     55 email re drug costs                                              Not Sealed
        email re off-site health care meeting
     56 minutes                                                          Not Sealed

     57 email re health care spending statistics                         Not Sealed

     58 email re screening colonoscopies                                 Not Sealed

     59 email regarding Advocacy Center letter                           Not Sealed

     60 email re negative pressure system                                Sealed

     61 email re inmate medical care                                     Sealed

     62 email regarding peer reviews                                     Not Sealed

     63 A-02-048-A form for Randy Lavespere                              Not Sealed



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  PX                                                    Defendants'
Number         Substance/Purpose                        Objections    Sealed
     64 email regarding physician supervisor                          Not Sealed

     65 email attaching death review                                  Sealed

     66 email regarding inmate death                                  Not Sealed

     67 Singh letter regarding staffing                               Not Sealed
        email regarding quality improvement
     68 meetings with attachments                                     Sealed
        email re cancer patients needing
     69 appointments                                                  Sealed

     70 email re post-op wound infections                             Not Sealed

     71 email re Kentrell Parker                                      Sealed

     72 email re prisoner medical update                              Sealed

     73 attachment re pending surgeries                               Sealed

     74 email re patient's HIV treatment                              Sealed

     75 email re Keppra and Neurontin                                 Sealed

     76 spreadsheet re inmate medical care                            Sealed

     77 email re HIV patient                                          Sealed

     78 email re futility of care teleconference                      Not Sealed
        email regarding treatment at Our Lady of
     79 the Lake                                                      Sealed

     80 email regarding hiring Ron Sylvest                            Sealed

     81 email re Clyde Carter medical care                            Sealed

     82 email re hernias                                              Sealed

     83 email re medical care of Justin Pleasant                      Sealed

     84 email re no shows                                             Sealed



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  PX                                                    Defendants'
Number        Substance/Purpose                         Objections    Sealed
        email regarding Ancar treatment and
     85 transfer                                                      Sealed

     86 notes on inmates medical care                                 Not Sealed

     87 email forwarding Wexford Group report                         Not Sealed

     88 email re inmate death                                         Not Sealed
        email regarding providers with restricted
     89 licenses                                                      Seal

     90 email re oncology appointments                                Sealed

     91 email re medication administration                            Not Sealed

     92 email re screening colonoscopies                              Not Sealed

     93 email re screening colonoscopies                              Not Sealed

     94 email re managed care contract system                         Not Sealed

     95 email re cancer appointments                                  Sealed

     96 email re offender death                                       Not Sealed

     97 email re offender healthcare                                  Sealed

     98 email re surgical needs                                       Not Sealed

     99 email re HIV and work release                                 Not Sealed

    100 email re psychotropic medications                             Sealed

    101 email re backlog numbers                                      Not Sealed

    102 email re screening colonoscopies                              Not Sealed

    103 email re missed appointments                                  Not Sealed

    104 email re inmate mortality                                     Sealed

    105 meeting notes re leadership team meeting                      Not Sealed



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  PX                                                        Defendants'
Number          Substance/Purpose                           Objections    Sealed
    106 email re screening colonoscopies                                  Not Sealed

    107 email re hernia treatment                                         Not Sealed

    108 email re screening colonoscopies                                  Not Sealed

    109 email forwarding Wexford Group report                             Not Sealed

    110 email re complaint to LSBME                                       Not Sealed

    111 email re offender death                                           Not Sealed

    112 email re Walter Reed medical care                                 Sealed
        form for reporting medication non-
    113 compliance                                                        Not Sealed

    114 email re eceptionist request                                      Sealed
         email attaching cost analysis for inmate health
    115 care                                                              Not Sealed

    116 email re costs of incarceration                                   Sealed

    117 email re costs of offender treatment                              Sealed

    118 email re inmate admission                                         Sealed

    119 email re no-show                                                  Sealed
        email re offender needing joint
    120 replacements                                                      Sealed

    121 sample pill call log                                              Sealed

    122 email re Walter Read healthcare                                   Sealed

    123 email re pill call in Camp J                                      Sealed

    124 email re pill call staffing                                       Not Sealed

    125 email re missing manifest                                         Not Sealed

    126 email re endoscopy                                                Not Sealed



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  PX                                                     Defendants'
Number          Substance/Purpose                        Objections    Sealed
    127 email re pill call training                                    Not Sealed

    128 email re missed follow-up appointments                         Not Sealed
        email re canteen purchases for indigent
    129 inmates, specifically over the counter meds                    Not Sealed

    130 email re Pharmacorr                                            Not Sealed

    131 email re John Freeman healthcare                               Sealed

    132 referral tracking form                                         Not Sealed

    133 email re audiograms                                            Sealed
         email re information needed by Mary Bird
    134 Perkins                                                        Not Sealed

    135 email re Henry Talley healthcare                               Sealed

    136 email re offenders assigned to wheelchairs                     Not Sealed

    137 email re Donald Woodley healthcare                             Sealed

    138 email re Robert Williams healthcare                            Sealed

    139 email re physicians at Angola                                  Not Sealed

    140 email re Patrick Kennedy healthcare                            Sealed
        email re hematology and oncology
    141 appointments                                                   Not Sealed
        email re missed and rescheduled
    142 appointments                                                   Not Sealed

    143 email re night shifts                                          Not Sealed

    144 email re nursing unit censuses                                 Not Sealed

    145 email re chemotherapy                                          Sealed

    146 wish list of items to be addressed                             Not Sealed

    147 letter re LSP staffing                                         Not Sealed



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  PX                                                      Defendants'
Number         Substance/Purpose                          Objections    Sealed
    148 email re heme/onc appointment                                   Sealed

    149 email re Ulysses Brown healthcare                               Sealed
        presentation re Aging Population in
    150 Corrections                                                     Not Sealed

    151 document re aging-related costs                                 Sealed

    152 email re offender visits to outside facilities                  Not Sealed

    153 email re hernia repair                                          Not Sealed

    154 email re offenders assigned to wheelchairs                      Sealed
        document re surgical utilization review
    155 committee                                                       Not Sealed

    156 email re hernia repair                                          Not Sealed
        email re hematology and oncology
    157 treatment plan                                                  Sealed

    158 email re hematology request                                     Sealed

    159 email re patients needing surgery                               Sealed
        email re cancer patients needing
    160 appointments                                                    Sealed

    161 email re duty statuses at LSP                                   Not Sealed

    162 email re reducible hernias                                      Not Sealed

    163 email re inmate medical care                                    Sealed

    164 document re formulary meeting                                   Not Sealed

    165 email attaching C-05 report                                     Not Sealed
         email attaching PowerPoint re Offender Health
    166 Care System                                                     Not Sealed

    167 PowerPoint re Offender Health Care System                       Not Sealed

    168 email re telemed contract                                       Not Sealed



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  PX                                                     Defendants'
Number         Substance/Purpose                         Objections    Sealed
        email attaching offender healthcare
    169 redesign presentation                                          Not Sealed

    170 offender healthcare redesign presentation                      Not Sealed

    171 email re HIV costs                                             Not Sealed

    172 document discussing telemedicine conversation                  Not Sealed

    173 email re inmate death                                          Not Sealed

    174 email re delay in care                                         Not Sealed

    175 demographics re inmate deaths                                  Not Sealed

    176 email re strategic plan                                        Not Sealed

    177 email re medication                                            Not Sealed

    178 email re staffing                                              Not Sealed

    179 charts reflecting C-05 reports                                 Not Sealed

    180 email re hernia triage list                                    Not Sealed

    181 document re staffing issues                                    Sealed

    182 email re follow-up care                                        Sealed

    183 email re hernia treatment                                      Sealed

    184 email re Tremaine Harper medical care                          Sealed

    185 email re Plavix usage                                          Sealed

    186 email re oncology appointment                                  Sealed
        email re electronic medication
    187 administration records                                         Not Sealed

    188 prison census                                                  Not Sealed

    189 email re continuity of care                                    Not Sealed



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  PX                                                     Defendants'
Number          Substance/Purpose                        Objections    Sealed
    190 email re medical trips                                         Sealed

    191 statistics re DOC facilities                                   Not Sealed

    192 statistics re DOC facilities                                   Not Sealed

    193 statistics re DOC facilities                                   Not Sealed

    194 email re surgery                                               Sealed

    195 email re cancer treatment                                      Sealed

    196 email re pill call problem                                     Sealed

    197 email re echocardiograms                                       Not Sealed

    198 email re cancer treatment                                      Sealed

    199 email re heat and staffing                                     Not Sealed

    200 policies re disability tracking                                Not Sealed

    201 email re neurosurgery patients                                 Not Sealed

    202 email re accuchecks                                            Sealed

    203 email re prosthetics                                           Sealed

    204 email re strategic plan                                        Not Sealed

    205 email re hearing tests                                         Not Sealed

    206 list of late ARP responses                                     Not Sealed
        email re site deaf and hard of hearing site
    207 visit                                                          Not Sealed

    208 email re surgery clinic                                        Not Sealed

    209 email re funding issue                                         Not Sealed

    210 email re nursing vacancies                                     Not Sealed



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  PX                                                    Defendants'
Number         Substance/Purpose                        Objections    Sealed
    211 email re telemedicine                                         Not Sealed

    212 email re named plaintiffs                                     Not Sealed

    213 email re telemedicine and HIV clinic                          Not Sealed

    214 email re Michael Kelly healthcare                             Sealed

    215 email re Matthew Howell transfer                              Sealed

    216 Peer review reports and ACA audit forms                       Not Sealed

    217 EMT treatment protocols                                       Not Sealed

    218 hernia triage list                                            Not Sealed

    219 documents re amputations                                      Sealed

    220 evacuation plans                                              Not Sealed
        documents re Anthony Young emergency
    221 response                                                      Sealed
        documents re Veran Jones emergency
    222 response                                                      Sealed

    223 list of physical alterations                                  Not Sealed
        DNR forms for Shannon Hurd and
    224 Edward Giovanni                                               Sealed
        minutes for monthly department head
    225 meetings                                                      Not Sealed

    226 evacuation plans                                              Not Sealed

    227 DOC referral guidelines and hernia list                       Sealed
        DOC disciplinary rules and Procedures and
    228 malingering disciplinary reports                              Sealed

    229 hernia triage list                                            Sealed
        credentialing materials for LSP medical
    230 practitioners                                                 Not Sealed

    231 ARPS related to medical care                                  Sealed



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                         Plaintiffs' FINAL Exhibit List

  PX                                                     Defendants'
Number         Substance/Purpose                         Objections    Sealed
    232 Data related to sick call requests                             Sealed

    233 Documentation of death related reporting                       Sealed
        Unusual Occurrence reports related to
    234 medical care                                                   Sealed

    235 Daily food menus                                               Not Sealed

    236 Evacuation plans to TC and other areas                         Not Sealed

    237 QI/QA materials                                                Sealed

    238 Defendants' responses to Plaintiffs' RFAs                      Not Sealed
        letter re Notice of findings in Lynn v.
    239 Williams                                                       Not Sealed
        Executive summary of findings in Lynn v.
    240 Williams                                                       Not Sealed

    241 Plaintiffs' medical report in Lynn v. Williams                 Not Sealed
        stipulation regarding document
    242 preservation and deletion
                                y              p                       Not Sealed
        in preparation for writing their reports,
    243 which may be used during their testimony                       Not Sealed
        Plaintiffs' medical expert rebuttal report to
    244 Moore report p           y        p                            Not Sealed
        related to medical care, excluding ARPs
    245 and medical records                                            Sealed

    246 Alton Batiste Documents                                        Sealed

    247 Clyde Carter Documents                                         Sealed

    248 Ian Cazenave Documents                                         Sealed

    249 Ricky Davis Documents                                          Sealed

    250 Reginald George Documents                                      Sealed

    251 Edward Giovanni Documents                                      Sealed

    252 Shannon Hurd Documents                                         Sealed



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                         Plaintiffs' FINAL Exhibit List

  PX                                                    Defendants'
Number        Substance/Purpose                         Objections               Sealed
    253 Kentrell Parker Documents                                                Sealed

    254 Farrell Sampier Documents                                                Sealed

    255 Lionel Parks Documents                                                   Sealed

    256 John Tonubbee Documents                                                  Sealed

    257 Edward Washington Documents                                              Sealed

    258 Rufus White Documents                                                    Sealed

    259 Alton Adams Documents                                                    Sealed

    260 email exchange
               p       regarding building plans                                  Not Sealed
        DOJ regarding requests for
    261 accommodation
               p                                                                 Sealed
        counsel and Defendants' counsel re DOJ
    262 correspondence regarding requests for                                    Sealed

    263 email re inmate medical treatment                                        Sealed

    264 email re Sampier medical
                           g      care
                                   p p                                           Sealed
        regarding health care at LSP and other
    265 DOC facilities                              Hearsay                      Not Sealed

    266 email regarding medication administration                                Not Sealed
                                                    Hearsay; Relevance/Not LSP
    267 email forwarding Wexford Group report                                    Not Sealed
                                                    Relevance
    268 email forwarding Wexford Group report                                    Not Sealed
        Wexford Group report about health care at
                                                  Relevance
    269 LSP, EHCC, and LCIW                                                      Not Sealed
        Wexford Group report about health care at Hearsay
    270 LSP, EHCC, and LCIW                                                      Not Sealed
                                                    Hearsay
    271 email forwarding Wexford Group
                                     p preport                                   Not Sealed
        about health care at LSP, EHCC, and         Relevance
    272 LCIW                                                                     Not Sealed
                                                    Relevance
    273 response by Prince to Wexford report                                     Not Sealed



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  PX                                                          Defendants'
Number         Substance/Purpose                              Objections      Sealed
                                                         Relevance/Not LSP
    274 email re infection control                                            Not Sealed
        letter from Advocacy Center re medical           Hearsay
    275 problems                                                              Not Sealed
                                                         Hearsay
    276 email re Lidio Calzadilla medical care                                Sealed
                                                         Relevance; Hearsay
    277 minutes of Regional Criminal Justice Meeting                          Not Sealed
        PowerPoint with statistics on statewide
                                                         Relevance
    278 PowerPoint
        conditions presentation departmental                                  Not Sealed
         overview for Senate Study Committee on Public Relevance
    279 Safety                                                                Not Sealed
        email forwarding PowerPoint from Judges'
                                                 Relevance
    280 Conference                                                            Not Sealed
                                                         Relevance
    281 letter re eMAR and Pharmacorr issues                                  Not Sealed
                                                         Relevance
    282 email re Pharmacorr problems                                          Sealed
                                                         Relevance
    283 document re Pharmacorr problems                                       Sealed
                                                         Relevance
    284 email re medical necessity                                            Not Sealed
                                                         Relevance/Not LSP
    285 email re peer reviews                                                 Not Sealed
        presentation to Police Jury Association          Relevance/Not LSP
    286 Convention                                                            Not Sealed
                                                         Relevance
    287 email re HIV testing                                                  Sealed
                                                         Relevance/Not LSP
    288 email re ambulance staffing                                           Not Sealed
                                                         Relevance/Not LSP
    289 email re parish monetary allotment                                    Not Sealed
                                                         Relevance
    290 email regarding potential hire                                        Not Sealed
                                                         Relevance/ Not LSP
    291 email re McKinley Jackson healthcare                                  Sealed
                                                         Relevance/Not LSP
    292 email re potential hire                                               Not Sealed
                                                         Relevance/Not LSP
    293 email re medication for multiple myeloma                              Sealed
                                                         Relevance/Not LSP
    294 Raymond White ARP                                                     Sealed



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  PX                                                     Defendants'
Number         Substance/Purpose                         Objections              Sealed
                                                     Relevance/Not LSP
    295 email re Robert Coates healthcare                                        Sealed
                                                     Relevance/Not LSP
    296 email re David Worthy healthcare complaint                               Sealed
                                                     Relevance/Not LSP
    297 email re Villery Kennedy healthcare                                      Sealed
                                                     Relevance/Not LSP
    298 email re Pharmacorr issues                                               Sealed
                                                     Relevance/Not LSP
    299 email re Pharmacorr issues                                               Sealed
                                                     Relevance/Not LSP
    300 email re Pharmacorr issues                                               Not Sealed

                                                     Relevance/Not LSP
    301 response from pharmacorr                                                 Not Sealed
                                                     Relevance/hearsay/Not LSP
    302 attachment to response from pharmacorr                                   Sealed
                                                     Relevance/Not LSP
    303 email re Pharmacorr teleconference                                       Not Sealed
                                                     Relevance
    304 email re radiation treatment                                             Sealed
                                                     Relevance/Not LSP
    305 email re physical therapy                                                Not Sealed
                                                     Relevance/Not LSP
    306 email re nursing unit census                                             Sealed
                                                     Relevance/Not LSP
    307 email re problems at AVC                                                 Not Sealed
                                                     Relevance/Not LSP
    308 email re follow-up care                                                  Sealed
                                                     Relevance/Not LSP
    309 email re biopsies                                                        Sealed
        email re cancer treatment at Mary Bird       Relevance/Not LSP
    310 Perkins                                                                  Sealed
                                                     Relevance/Not LSP
    311 email re inmates in wheelchairs                                          Not Sealed
                                                     Relevance/Not LSP
    312 email re potential hire                                                  Not Sealed
                                                     Relevance/Not LSP
    313 email re inmate death                                                    Sealed
                                                     Relevance/Not LSP
    314 email re surgery recommendations                                         Sealed
                                                     Relevance/Not LSP
    315 email re inmate surgery                                                  Sealed



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  PX                                                    Defendants'
Number         Substance/Purpose                        Objections       Sealed
                                                    Relevance/Not LSP
    316 email re Anthony Rapides death                                   Sealed
                                                    Relevance/Not LSP
    317 email re inmate deaths                                           Sealed
                                                    Relevance
    318 death report for Russell Ellwood                                 Sealed
                                                    Relevance
    319 email re Lonnie Easterwood death                                 Sealed
                                                    Relevance
    320 email re David Jones medical care                                Sealed
                                                    Relevance
    321 autopsy report for Aaron Bratton                                 Sealed
        email regarding Lloyd Ancar security        Relevance
    322 treatment                                                        Sealed
                                                    Relevance
    323 transfer summary for Lloyd Ancar                                 Sealed
                                                    Relevance
    324 email re Moses Mayer medical care                                Sealed
                                                    Relevance
    325 email regarding Laird Veillion medical care                      Sealed
        email regarding Glenn Harrison medical
                                                    Relevance
    326 care                                                             Sealed
        email regarding offenders with mental
                                                    Relevance
    327 illness and restrictive housing                                  Not Sealed
                                                    Relevance
    328 email re orderly job and pay                                     Not Sealed
                                                    Relevance
    329 email re hunger strikes                                          Sealed
                                                    Relevance
    330 email re medical care of Jose Rene Osorio                        Sealed
                                                    Relevance
    331 email re inmate medical care                                     Sealed
                                                    Relevance
    332 email re Bill Periera healthcare                                 Sealed
                                                    Relevance/Not LSP
    333 email re diabetes treatment                                      Not Sealed
                                                    Relevance/ Not LSP
    334 email re Lamont Matthews healthcare                              Sealed
                                                    Relevance
    335 email re Francisco San Nicholas death                            Sealed
                                                    Relevance
    336 death report re Francisco San Nicholas                           Sealed



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  PX                                                       Defendants'
Number        Substance/Purpose                            Objections      Sealed
                                                      Relevance
    337 memo re Francisco San Nicholas                                     Sealed
                                                      Relevance
    338 email re inmate deaths                                             Not Sealed
                                                      Relevance
    339 email re inmate death                                              Sealed
                                                      Relevance
    340 death summary                                                      Sealed
        email attaching report on mental health
                                                      Relevance
    341 issues                                                             Not Sealed
                                                      Relevance
    342 report on mental health issues                                     Not Sealed
                                                      Relevance
    343 email re ASCOT trial                                               Not Sealed
        documents related to prisoner complaints
                                                      Relevance
    344 to LSBME                                                           Sealed
        Mortality in Local Jails and State Prisons,
                                                      hearsay
    345 2000-2013—Statistical Tables                                       Not Sealed
        Pew Charitable Trust report on Managing
                                                      Hearsay
    346 Prison Health
                    J Care Spending p                                      Not Sealed
        mental health problems of prison and jail
                                                      Hearsay
    347 inmates                                                            Not Sealed
        BJS report on prison and jail deaths in
                                                      Hearsay
    348 custody                                                            Not Sealed
         Cornell University, 2014 Disability Status
                                                      Hearsay
    349 Report—Louisiana                                                   Not Sealed
        declaration of Susi Vassallo re Kentrell
    350 Parker isolation                              Hearsay; Relevance   Sealed
        Advocacy Center letter re Kentrell Parker     Hearsay
    351 isolation y                                                        Sealed
        departure, Edward Giovanni & Kentrell         Hearsay;
    352 Parker's medical care                                              Sealed
        Advocacy Center letter re Kentrell Parker
                                                      Hearsay
    353 isolation                                                          Sealed
        Advocacy Center letter re Kentrell Parker     Hearsay
    354 isolation                                                          Sealed
        Advocacy Center letter re Kentrell Parker     Hearsay
    355 isolation                                                          Sealed
        Advocacy Center letter re Kentrell Parker     Hearsay
    356 isolation                                                          Sealed
        Advocacy Center letter re Kentrell Parker     Hearsay
    357 isolation                                                          Sealed



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                         Plaintiffs' FINAL Exhibit List

  PX                                                           Defendants'
Number          Substance/Purpose                              Objections         Sealed
                                                          Hearsay
    358 email re Advocacy Center visit                                            Sealed
                                                          relevance
    359 letter re Richard Roussell medical care                                   Sealed
                                                          Relevance
    360 email re inmate post-op emergency                                         Sealed
                                                          Hearsay
    361 letter regarding Lionel Parks ARP                                         Sealed
                                                          Relevance; Hearsay
    362 letter re Kentrell Parker medical care                                    Sealed
                                                          Hearsay
    363 email regarding inmate at TC2                                             Sealed
                                                          Relevance; Hearsay
    364 email re Advocacy Center visit                                            Sealed
        document regarding Shon Miller medical
                                                          Relevance
    365 care                                                                      Sealed
                                                          Relevance; Hearsay
    366 letter re Shon Miller discipline                                          Sealed
                                                          Relevance
    367 email forwarding Advocacy Center letter                                   Not Sealed
                                                          Relevance
    368 Advocacy Center letter re Eddie Giovanni                                  Sealed
                                                          Relevance; Hearsay
    369 email re Kentrell Parker medical treatment                                Sealed
                                                          Hearsay
    370 email forwarding Advocacy Center letter                                   Not Sealed
                                                          relevance/hearsay
    371 Advocacy Center letter re Kentrell Parker                                 Sealed
        email re medical care of Roussell, Tarver,
                                                          Hearsay
    372 Luckett, Zihlavsky, and George                                            Sealed
                                                          Portions not relevant
    373 email re Shon Miller                                                      Sealed
         Advocacy Center letter re Anthony Sanders        Relevance
    374 ARP                                                                       Sealed
                                                          Relevance; Hearsay
    375 email re Edward Giovanni medical care                                     Sealed
         email from Advocacy Center re Robert Byrd        Relevance
    376 needs                                                                     Sealed
                                                          Relevance; Hearsay
    377 email rep Robert Byrd medical care                                        Sealed
        counsel and Defendants' counsel re Lionel
                                                  Relevance
    378 Parks                                                                     Sealed



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                         Plaintiffs' FINAL Exhibit List

  PX                                                           Defendants'
Number         Substance/Purpose
               p                                               Objections    Sealed
        counsel and Defendants' counsel re
                                                         Relevance
    379 Kentrellp Parker                                                     Sealed
        counsel and Defendants' counsel re
                                                         Relevance
    380 multiplep named Plaintiffs for letter sent                           Sealed
        counsel and Defendants' counsel re
                                                         Relevance
    381 refusingp medical care                                               Sealed
        counsel and Defendants' counsel re
                                                         Relevance
    382 retaliation
                p concerns                                                   Sealed
        counsel and Defendants' counsel re
                                                         Relevance
    383 Shannon p Hurd                                                       Sealed
        counsel and Defendants' counsel re
                                                         Relevance
    384 transferp                                                            Sealed
        counsel and Defendants' counsel re would
                                                         Relevance
    385 care                                                                 Sealed
                                                         Relevance
    386 email regarding Advocacy Center visit                                Sealed
        email regarding Advocacy Center and              Relevance
    387 named plaintiffs                                                     Not Sealed
                                                         Relevance
    388 email re Robert Byrd medical care                                    Sealed
        ACA PowerPoint regarding litigation
                                                         Relevance
    389 management for correctional health care                              Not Sealed
                                                         Relevance
    390 email forwarding Advocacy Center letter                              Not Sealed
                                                         Relevance
    391 email re Advocacy Center visit                                       Not Sealed
                                                         Relevance
    392 email re Advocacy Center visit                                       Not Sealed
                                                         Relevance
    393 email re Advocacy Center visit                                       Sealed
                                                         Relevance
    394 email re inmates visited by Advocacy Center                          Not Sealed
        (entirely redacted; included as attachment to Ex. Relevance
    395 1373)                                                                Not Sealed
                                                         Relevance
    396 email re inmates visited by Advocacy Center                          Not Sealed
         (entirely redacted; included as attachment to Ex. Relevance
    397 1375)                                                                Not Sealed
        draft settlement agreement between DOJ           Relevance
    398 and LSP re ADA with attachments                                      Not Sealed
                                                         408
    399 letter attaching DOJ settlement agreement                            Not Sealed



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  PX                                                   Defendants'
Number        Substance/Purpose                        Objections    Sealed
                                                 408/Relevance
    400 emails re DOJ settlement                                     Not Sealed
                                                 408/Relevance
    401 DOJ draft settlement                                         Not Sealed
                                                 408
    402 DOJ settlement attachment                                    Not Sealed
        Defendants' responses to Plaintiffs'
    403 Seventh Set of Requests for Production                       Sealed
    404 Email                                    hearsay/relevance   Not Sealed




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